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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

SSS TS eB ee eee eee eee ee LLL xX
UNITED STATES OF AMERICA, :
-against-
JORGE ALFREDO MONTANEZ BECERRA, :
18 Cr. 782 (GBD)
Defendant. :
wom ST Ss mm me em eee eee ee eee LL LL x

GEORGE B. DANIELS, United States District Judge:

The initial appearance currently scheduled for October 20, 2020 at 10:00 a.m. is hereby

 

cancelled.

Dated: New York, New York
October 15, 2020

SO ORDERED.

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RGF B. DANIELS
ited States District Judge

 

 

 

 
